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                                              1791
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 Samuel Eglow


                                                          February 10, 2025

 FILED AND SERVED VIA CM/ECF
 Honorable Leda Dunn Wettre, U.S.M.J.
 United States District Court, District of New Jersey
 Martin Luther King Building & US Courthouse
 50 Walnut Street
 Newark, New Jersey 07101

         Re:     Coello v. DiLeo, et al.
                 Civil Action No.: 2:20-cv-1682

 Dear Judge Wettre:

         This firm represents Plaintiff Yasmine Coello in the above referenced matter. Plaintiff and
 Defendants, by their respective counsel, respectfully submit this joint letter to request an extension of
 the parties’ expert report deadlines as set forth in the Amended Scheduling Order entered by the Court
 on December 16, 2024. The reason for the request is to allow for the completion of depositions and
 for the parties to complete mediation prior to the submission of expert reports.

        Currently, affirmative expert reports are due for submission on February 28, 2025, and
 responding expert reports are due for submission on March 31, 2025.

        Mediation in this matter has been scheduled for February 28, 2025 with the Honorable Noel L.
 Hillman. The deposition of Defendant Nicholas Scutari has been scheduled for February 19, 2025.
 The depositions of two additional witnesses have been scheduled with the last deposition scheduled
 for March 19, 2025.

         The parties seek this extension in the interest of pursuing a good faith resolution via mediation
 and to allow for the remaining depositions to be completed. As such, it is respectfully requested
 that the deadline for affirmative expert reports be extended to April 30, 2025, and the
 deadline for responding expert reports be extended to May 31, 2025. **

        Thank you for your consideration and we would be happy to discuss if the Court has any
 questions.
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                                            Respectfully Submitted,



                                            Brian D. Singleton


 cc:      All Counsel of Record




** Given the age of this case:
• The deadline for service of affirmative expert reports is extended FOR A FINAL TIME to
   March 31, 2025.
• The deadline for service of responsive expert reports is extended FOR A FINAL TIME to
   April 30, 2025.
• The telephone conference before the undersigned on March 26, 2025 at 2:30 p.m. will proceed
   as scheduled. Dial-in information for the conference is (973) 437-5535, access code 940 041
   750#.

             SO ORDERED.
       s/ Leda Dunn Wettre, U.S.M.J.
                2/13/2025
       Dated: ___________________
